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                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTI IERN DISTRICT OF FLORID!\

 IN RI~:                                                              CJ\SE NO:
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           Dcbtor(s)
                                          I

                               TRUSTEE'S OBJECTION TO EXEMPTIONS
                         AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

         Nancy K Neidich, Standing Chapter J 3 Trustee, files this Objection to Exc111ptions as the Trustee objects to
the cxc111ption of' property as stated in the dcbtor(s)' Schedules as being over the legal li111it and/or raising a question
as to the a111ount of' the claimed exemption and therefore it docs not appear that the debtors arc entitled to same and
therefore excessive or in~1ppropriate exemptions should be stricken and disallowed. Objecting specifically as
checked:
    a) Homestead property which:
         0 is multi-family (duplex),
         0 is not actually used as homestead and/or
         [] was acquiredfcwcr than 1215-days pre-petition and exempt in excess of a111ount in 11 USC 522(p).
    b) Personal propertycxcmptcd over 0 $1,000 with homestead 0 $5,000.00 without homestead
    c) Tenants By the I1~ntireties, evidence ofjoint title, copy of non-filing spouse's credit report, and motion
served on all creditors stating what property is jointly held and that no creditors hold a joint claim.
    d) Bare Legal Title, evidence the debtor has never contributed to the payment, maintenance, or insurance, nor
used or controlled the asset. J\lso, evidence co-owner never intended to gift the asset (currently/future) to the debtor
and that the debtor and co-owner have l ivcd in separate addresses.
    c) Vague exemption in the amount stated, description of asset, or citation of exemption.
    f) Wages, evidence of head off'amily (ifjoint case need specific debtor) and 6 months bank statements with
deposits traced to head of household's earnings.
1'{ g) Automobile [Jcxc;nption in excess of $5,000.00,J)( is split between more than one automobile, or [] is
exempted by debtor who is not on registration/title
    h) Valuation Issues: the debtor did not timely provide the Trustee with the requested valuation, including but
not limited to bank statements, real property, or vehicles, Sec deficiency for detail.
0 i) Proof ofTRA, Pension or 401 K qualifies under IRS code.
   j) Use of' improper application of exemption: residency 522(b)(3), not eligible for exemption
    k) Life Insurance as debtor appears to be beneficiary and not insured
   l)




        I hereby certify that a true and correct copy of the foregoing and the Notice of' I [caring generated by the
Clerk of the Court was served through ECF on debtor's attorney on the same day as the objection is filed with the
Clerk of the Court.
                                                            Submitted by
                                                           NJ\NCY K. NEIDICl1, ESQUIRE
                                                            STANDING Cl IAPTER 13 TRUSTEE
                                                            FLORID!\ BJ\R NO.: 441856
                                                            P.O. BOX 279806
                                                            MIRAMAR, FL 33027
                                                           (954) 443-4402
